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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        ERIKA WONG,
                                   6                                                       Case No. 18-cv-00124-MEJ
                                                       Plaintiff,
                                   7
                                                v.                                         ORDER SETTING INITIAL CASE
                                   8                                                       MANAGEMENT CONFERENCE
                                        ANTHONY LEVANDOWSKI,                               AND ADR DEADLINES
                                   9
                                                       Defendant.
                                  10

                                  11

                                  12          IT IS HEREBY ORDERED that this action is assigned to the Honorable Maria-Elena
Northern District of California
 United States District Court




                                  13   James . When serving the complaint or notice of removal, the plaintiff or removing defendant

                                  14   must serve on all other parties a copy of this order, the Notice of Assignment of Case to a United

                                  15   States Magistrate Judge for Trial, and all other documents specified in Civil Local Rule 4-2.

                                  16   Plaintiffs or removing parties must file a consent or declination to proceed before a magistrate

                                  17   judge within 14 days of the filing of the complaint or the removal. All other parties must file a

                                  18   consent or declination within 14 days of appearing in the case. All parties who have made an

                                  19   appearance must file a consent or declination within 7 days of the filing of a dispositive motion or

                                  20   the case will be reassigned to a district court judge. Counsel must comply with the case schedule

                                  21   listed below unless the Court otherwise orders.

                                  22          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  23   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  24   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  25   Procedures in the Northern District of California” on the Court ADR Internet site at

                                  26   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  27   Clerk’s Office for parties in cases not subject to the court’s Electronic Case Filing program (ECF).

                                  28          IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties
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                                   1   the brochure entitled “Consenting To A Magistrate Judge’s Jurisdiction In The Northern District

                                   2   Of California", additional copies of which can be downloaded from the court’s Internet website:

                                   3   http://www.cand.uscourts.gov.

                                   4

                                   5                         CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                   6    Date               Event                                                               Governing Rule

                                   7    1/5/2018           Complaint Filed

                                   8    3/15/2018          *Last day to:                                                       FRCivP 26(f) & ADR
                                                           • meet and confer re: initial disclosures, early                    L.R.3-5
                                   9                       settlement, ADR process selection, and discovery plan
                                  10                       • file ADR Certification signed by Parties and Counsel              Civil L.R . 16-8(b) &
                                  11                       (form available at http://www.cand.uscourts.gov)                    ADR L.R. 3-5(b)

                                  12
                                                           • file either Stipulation to ADR Process or Notice of
Northern District of California




                                                                                                                               Civil L.R . 16-8(c) &
 United States District Court




                                  13                       Need for ADR Phone Conference                                       ADR L.R. 3-5(b)
                                                           http://www.adr.cand.uscourts.gov
                                  14
                                                           (form available at http://www.cand.uscourts.gov)
                                  15
                                        3/29/2018          Last day to file Rule 26(f) Report, complete initial                FRCivP 26(a) (1) Civil
                                  16                       disclosures or state objection in Rule 26(f) Report and             L.R . 16-9
                                                           file Case Management Statement per Standing Order re
                                  17                       Contents of Joint Case Management Statement
                                  18                       (also available at http://www.cand.uscourts.gov)

                                  19    4/5/2018           INITIAL CASE MANAGEMENT CONFERENCE                                  Civil L.R . 16-10
                                                           (CMC) at 10:00 AM in:
                                  20
                                                           Courtroom B, 15th Floor
                                  21                       Phillip Burton Federal Building
                                                           450 Golden Gate Avenue
                                  22                       San Francisco, CA 94102
                                  23

                                  24   * If the Initial Case Management Conference is continued, the other deadlines are continued accordingly.
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